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17
                            UNITED STATES DISTRICT COURT
18
                          NORTHERN DISTRICT OF CALIFORNIA
19
                                      OAKLAND DIVISION
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21
     ROBERT ROSS,                               CASE NO. 4:19-CV-06669 (JST)
22
                        Plaintiff,              [PROPOSED] ORDER GRANTING
23                                              MOTION TO FILE DISCOVERY
           v.                                   LETTER BRIEF UNDER SEAL
24
     AT&T MOBILITY LLC, et al,
25                                              Date: TBD
                        Defendants.             Time: TBD
26                                              Place: Courtroom 6
27

28



                           [PROPOSED] ORDER GRANTING MOTION TO SEAL
     Case 4:19-cv-06669-JST
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1          The Application of Plaintiff ROBERT ROSS (“Ross”) and Defendant AT&T
2    MOBILITY, LLC for an Order to file an unredacted version of their joint Discovery
3    Letter to Magistrate under seal was received by the Court.
4          IT IS ORDERED, as follows:
5          1.     The Court GRANTS the motion to seal the unredacted version of the joint
6    Discovery Letter to Magistrate. The unredacted version hall remain under seal, and the
7    public will have access only to the redacted version.
8

9    Dated: October 1, 2021          ______________________________
10                                   Magistrate Judge Donna M. Ryu
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                            [PROPOSED] ORDER GRANTING MOTION TO SEAL
